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                                                                        Page 1


                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

             MEDICAL & CHIROPRACTIC CLINIC,           )
             INC.,                                    )
                                                      )
                     Plaintiff,                       )
                                                      )   Case No.
                     vs.                              )   8:16­cv­01477­
                                                      )   CEH­TBM
             DAVID M. OPPENHEIM, an                   )
             individual, and BOCK LAW FIRM,           )
             LLC d/b/a BOCK, HATCH, LEWIS, &          )
             OPPENHEIM, LLC,                          )
                                                      )
                     Defendants.                      )

                     The videotaped deposition of
             DR. GREGORY WILLIAMS, called for examination
             pursuant to the Rules of Civil Procedure for the
             United States District Courts pertaining to the
             taking of depositions, taken before Layli
             Phillips, Certified Shorthand Reporter of the
             State of Illinois, at 321 North Clark Street,
             Suite 2800, Chicago, Illinois, on
             November 13, 2017, at 12:46 p.m.



             Reported by:      Layli Phillips, CSR, RPR, CRR

             License No.:      084.003900



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                                                              Page 2                                                Page 4
        1   APPEARANCES:                                                1          THE VIDEOGRAPHER: Here begins the
        2   For the Plaintiffs:
               FOLEY & LARDNER LLP                                      2   videotaped deposition of Dr. Gregory Williams,
        3      MR. BENNETT L. EPSTEIN                                   3   Tape one, Volume 1, in the matter of Medical &
               MR. PATRICK J. MCMAHON
        4      321 North Clark Street, Suite 2800                       4   Chiropractic Clinic versus Oppenheim, Case Number
               Chicago, Illinois 60654                                  5   8:16-cv-01477-CEH-TBM.
        5      (312) 832-4576
               bepstein@foley.com                                       6          Today's date is November 13th, 2017, and
        6      pmcmahon@foley.com                                       7   the time on the video monitor is 12:46.
        7
            For the Defendant David M. Oppenheim:                       8          My name is Stephen Goethals and the
        8      BLONIEN LEGAL COUNSEL
               MR. BARRY J. BLONIEN
                                                                        9   court reporter is Layli Phillips of Thompson Court
        9      1718 Adams Street                                       10   Reporters.
               Madison, Wisconsin 53711
       10      (608) 620-5357
                                                                       11          Today's deposition is taking place at
               barry@blonienlegal.com                                  12   Foley & Lardner in Chicago, Illinois.
       11
       12   For the Defendant Bock Law Firm, LLC:                      13          Would counsel please introduce
               BOCK & HATCH, LLC                                       14   themselves and state whom they represent.
       13      MR. DANIEL COHEN
               134 North LaSalle Street, Suite 1000                    15          MR. EPSTEIN: I'm Bennett Epstein, and I
       14      10th Floor                                              16   represent Medical & Chiropractic, Inc.
               Chicago, Illinois 60602
       15      (312) 658 5500                                          17          THE VIDEOGRAPHER: Mr. Epstein, do you
               danieljaycohen209@gmail.com                             18   have your --
       16
       17                                                              19          MR. EPSTEIN: Oh, I do not.
            ALSO PRESENT: MR. STEPHEN GOETHALS, VIDEOGRAPHER
       18          MR. DAVID M. OPPENHEIM
                                                                       20          THE VIDEOGRAPHER: It might have slipped
       19                                                              21   down.
       20
       21                                                              22          MR. EPSTEIN: I don't know if I have
       22                                                              23   one.
       23
       24                                                              24          MR. BLONIEN: There's one on the floor.


                                                              Page 3                                                Page 5
        1                      INDEX                                    1          MR. EPSTEIN: All righty. I'll -- you
        2                                                               2   want me to restate it?
        3       Examinations                           Page             3          THE VIDEOGRAPHER: Sure.
        4                                                               4          MR. EPSTEIN: My name is Bennett
        5       By Mr. Blonien                          6               5   Epstein. I'm with the law firm of Foley &
        6       By Mr. Cohen                            43              6   Lardner, and I represent Medical & Chiropractic,
        7                                                               7   Inc.
        8                                                               8          MR. BLONIEN: And this is Barry Blonien
        9                    EXHIBITS                                   9   on behalf of Blonien Legal Counsel representing
       10                                                              10   defendant David Oppenheim.
       11       Number           Description             Page          11          MR. COHEN: Dan Cohen of Bock Law Firm,
       12                                                              12   LLC, here on behalf of Bock Law Firm, LLC.
       13      Exhibit 1       MC 188 Through MC 195             18    13          THE VIDEOGRAPHER: Will the court
       14                                                              14   reporter please swear in the witness.
       15                                                              15          MR. EPSTEIN: Could I also get the other
       16                                                              16   names of the other -- of the other individuals who
       17                                                              17   are in the room, even if they are not counsel of
       18                                                              18   record?
       19                                                              19          MR. OPPENHEIM: David Oppenheim.
       20                                                              20          THE COURT: Patrick McMahon, Foley &
       21                                                              21   Lardner.
       22                                                              22          MR. EPSTEIN: Thank you.
       23                                                              23
       24                                                              24



                                                                                              2 (Pages 2 to 5)
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                                                   Page 6                                                                 Page 8
        1              DR. GREGORY WILLIAMS                      1       Q. Do you know the decade?
        2           the deponent herein, called as a             2       A. '90s.
        3    witness, after having been first duly sworn, was    3       Q. Have you worked consistently at Medical
        4    examined and testified as follows:                  4    & Chiropractic Clinic, Inc., since you opened it
        5                  EXAMINATION                           5    in the '90s approximately?
        6    BY MR. BLONIEN:                                     6       A. Yes.
        7      Q. Good afternoon, Dr. Williams.                  7       Q. Have you worked anywhere else since
        8      A. Afternoon.                                     8    opening Medical & Chiropractic Clinic, Inc.?
        9      Q. Your name, just for the record, is             9       A. You mean for anybody else or just worked
       10    Gregory Williams; is that correct?                 10    in general?
       11      A. Correct.                                      11       Q. Have you received a paycheck from anyone
       12      Q. And you are a doctor of what?                 12    else, apart from Medical & Chiropractic Clinic,
       13      A. Chiropractic.                                 13    Inc.?
       14      Q. How long have you been a doctor of            14       A. No.
       15    chiropracty?                                       15       Q. What do you understand of the claims at
       16      A. Since '82.                                    16    issue in this case?
       17      Q. And you have your own operation; is that      17       A. For today's purpose?
       18    correct?                                           18       Q. The case that we're here for today, yes,
       19      A. Correct.                                      19    sir.
       20      Q. And that's Medical & Chiropractic             20       A. I believe this is the Medical &
       21    Clinic, Inc.?                                      21    Chiropractic Clinic brought an issue against
       22      A. Correct.                                      22    Mr. Oppenheim for things that has been transpired
       23      Q. And are you a part owner?                     23    on his portion or for what he has done.
       24      A. Yes.                                          24       Q. Do you understand what the claims are


                                                   Page 7                                                                 Page 9
        1      Q. Are you a 50 percent owner?                   1    that are asserted in this case?
        2      A. Yes.                                          2      A. I don't know if I know them all.
        3      Q. With your wife, Michelle Zakzrewski, as       3      Q. Okay. What claims do you know are being
        4   the other 50 percent owner?                         4    asserted in this case?
        5      A. Yes.                                          5      A. That Mr. Oppenheim had worked with
        6      Q. Have you worked anywhere else, aside          6    Wanca, and then he was handling all of the class
        7   from Medical & Chiropractic Clinic, Inc., as a      7    action -- well, not all of it, but a large portion
        8   chiropractor?                                       8    of it -- against the Buccaneers and was in court
        9      A. Yes.                                          9    many times for that. And then when he left that
       10      Q. Where else did you work?                      10   firm, he had started an additional class action
       11      A. I worked in Vero Beach. My brother had        11   lawsuit with a new firm he is at. That's what I
       12   a clinic over there. He's a medical doctor. And     12   understand.
       13   I worked there with him for seven years.            13     Q. Okay. Anything else that you can recall
       14      Q. Anywhere else that you worked?                14   as to the nature of the claims that M & C is
       15      A. Yes. I worked in Alabama for about two        15   asserting in this case?
       16   years.                                              16     A. That we have had some injury in our
       17          And I worked with my father when I first     17   behalf.
       18   got out and back in '82 for a couple of years       18     Q. Okay. And can you describe what that
       19   there.                                              19   injury is for me, please?
       20      Q. When did you start Medical &                  20     A. Well, we are the class representative of
       21   Chiropractic Clinic, Inc.?                          21   the original suit brought against the Buccaneers.
       22      A. I believe it was in Vero Beach.               22   And my wife, Michelle, who did most of all of that
       23      Q. Do you know the year approximately?           23   paperwork with Mr. Wanca's firm and Mr. Oppenheim
       24      A. No, sir.                                      24   and whoever else was involved in that lawsuit



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        1   spent quite a bit of her time and some travel,        1   names.
        2   loss of income for our office.                        2      Q. And do you have any facts that you know
        3          She is also my assistant as well as            3   personally that support those claims?
        4   running the front and any pertinent insurance data    4      A. I believe there was an appellate ruling
        5   information. That is her forte.                       5   in that regard. And in that appellate ruling, it
        6          We have -- I have lost some time myself        6   ruled that there were the two fractions, if you
        7   in the office, including today.                       7   will, one for X amount of dollars and Mr. Cohen
        8          And as a class representative, I believe       8   and Oppenheim's for a smaller amount.
        9   once there is a loss there, we were to get a small    9      Q. How did you learn of that appellate
       10   stipend, if you will, for being class                10   ruling that you were referring to?
       11   representative and taking the time to represent      11      A. I saw it.
       12   the class.                                           12      Q. How did you see it?
       13      Q. Anything else that you can think of?           13      A. My wife showed it to me.
       14      A. I think that's -- I think that's all.          14      Q. When did your wife show it to you?
       15      Q. Okay. There are a couple things I just         15      A. Several weeks ago, but I don't know the
       16   want to unpack on what you just went over.           16   day.
       17          You said that it's your understanding         17      Q. Do you know how she obtained the
       18   that Mr. Oppenheim was involved in the class         18   opinion?
       19   action litigation against the Tampa Bay Buccaneers   19      A. I believe it was sent to her.
       20   at Anderson & Wanca; did I hear that correctly?      20      Q. Do you know who sent it to her?
       21      A. That's correct.                                21      A. Mr. Wanca's firm. That's all I know.
       22      Q. And that it's your understanding that he       22      Q. So someone at Anderson & Wanca sent
       23   appeared in court many times on that case?           23   Ms. Zakzrewski a copy of the 11th Circuit
       24      A. Yes.                                           24   decision, and she shared it with you?


                                                   Page 11                                                  Page 13
        1       Q. Okay. How many times do you understand         1      A. Right.
        2   Mr. Oppenheim to have appeared in court on behalf     2      Q. Okay. Apart from the appellate ruling
        3   of the class or on behalf of M & C in that            3   that you referred to, are you aware of any other
        4   litigation?                                           4   facts that you have personal knowledge of that you
        5       A. That I don't know.                             5   believe support the claims in this case?
        6       Q. What gives you the impression that             6      A. Those are the ones I have only seen.
        7   Mr. Oppenheim went to court many times for that       7      Q. Okay. So you saw the appellate ruling?
        8   case?                                                 8      A. Yes.
        9       A. From my wife.                                  9      Q. And that's pretty much the sum and
       10       Q. From your wife?                               10   substance of what you know about the claims and
       11       A. Yes.                                          11   the facts to support it?
       12       Q. Do you recall specifically what she told      12      A. For this, yes.
       13   you?                                                 13      Q. For M & C's action against Mr. Oppenheim
       14       A. She told me that Mr. Oppenheim was            14   for breaching fiduciary duty?
       15   essentially the closer of a case, and the other      15      A. Correct.
       16   attorneys would do preliminary work, and then he     16      Q. Okay. When did you first meet
       17   would come in and make the deal or settle, however   17   Mr. Oppenheim?
       18   they -- however you do that.                         18      A. He had a deposition recently. I never
       19       Q. And you also stated that your                 19   met him personally or shook his hand. That's the
       20   understanding of this case in the claims involved    20   first time I've seen him.
       21   here are that when Mr. Oppenheim left Anderson &     21      Q. Okay. So you hadn't put your eyes on
       22   Wanca, he started a competing class action?          22   him before that point?
       23       A. Yes, with -- I don't know the -- Cohen        23      A. No, sir.
       24   and another person, I don't know, Cohen and three    24      Q. Did you ever speak to him by phone?


                                                                                   4 (Pages 10 to 13)
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                                                    Page 14                                                  Page 16
        1       A. No.                                             1      Q. Okay. What about the last time you came
        2       Q. By email?                                       2   in for Mr. Oppenheim's deposition where you saw
        3       A. No.                                             3   him first?
        4       Q. Or any other form that we can think of?         4      A. Yes.
        5       A. No.                                             5      Q. You stayed at a hotel?
        6       Q. Okay. So the first time that you ever           6      A. Yes.
        7    saw or spoke to Mr. Oppenheim was at his              7      Q. Did you pay for that hotel?
        8    deposition in this litigation.                        8      A. No.
        9       A. Well, I never spoke to him.                     9      Q. Who paid for that hotel?
       10       Q. Right. The only interaction -- the             10      A. Mr. Wanca.
       11    first interaction that you had, even if it was       11      Q. Okay. And did you fly if for today's
       12    simply eyeballs on the person, was at that           12   deposition?
       13    deposition?                                          13      A. I did.
       14       A. Correct.                                       14      Q. And did you pay for your flight?
       15       Q. And you never spoke to him before that         15      A. No.
       16    point or even at that point, if I understand your    16      Q. Who paid for the flight?
       17    clarification?                                       17      A. Mr. Wanca.
       18       A. I don't believe so.                            18      Q. Okay. Do you know if Mr. Wanca has a
       19       Q. Okay. Do you know who is paying your           19   contract with Medical & Chiropractic to seek
       20    attorney fees for today?                             20   reimbursement for any of these expenses that he's
       21       A. Yes.                                           21   paying for?
       22       Q. Who?                                           22      A. I don't know.
       23       A. Wanca firm.                                    23      Q. Do you know if Mr. Wanca ever had any
       24       Q. And is Mr. Wanca paying all of the fees        24   agreements with Medical & Chiropractic as an


                                                    Page 15                                                  Page 17
        1    associated with this litigation?                      1   attorney?
        2       A. As far as I know, yes.                          2      A. I have not seen any.
        3       Q. And expenses, same thing?                       3      Q. Okay. Have you looked for any?
        4       A. Most expenses, yes.                             4      A. No.
        5       Q. What expenses is Mr. Wanca not paying           5      Q. Okay. Have you asked your wife to look
        6    for?                                                  6   for any?
        7       A. Food, cabs, anything that I need to pay         7      A. I haven't asked her that.
        8    for that he doesn't; but mostly it's food and         8      Q. Okay. Is she the primary person who is
        9    cabs.                                                 9   handling the litigation?
       10       Q. Okay. You said it's mostly. I just             10      A. Yes.
       11    want to make sure I get this right.                  11      Q. As the agent and representative of
       12       A. Well, I'm -- I can't speak for Michelle        12   Medical & Chiropractic?
       13    and her portion.                                     13      A. Yes.
       14       Q. Okay. I -- I'm glad that you can't, and        14      Q. Is it fair to say that she would be the
       15    I won't ask you to.                                  15   go-to person to ask as it relates to the claims in
       16          Focused on what you know personally and        16   this case?
       17    your own personal knowledge --                       17      A. Yes.
       18       A. Yes.                                           18      Q. Okay. I'd like to show you what's been
       19       Q. -- apart from cabs and food, is there          19   marked as Exhibit Number 1. Please take a moment
       20    any other expenses associated with this litigation   20   to look at that, and let me know when you're ready
       21    that Mr. Wanca is not paying for?                    21   for a question, Doctor.
       22       A. No, I don't think so.                          22
       23       Q. Okay. Are you staying in a hotel?              23
       24       A. No. I'm here today and gone today.             24



                                                                                    5 (Pages 14 to 17)
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                                                   Page 18                                                 Page 20
        1                (Whereupon Deposition Exhibit            1      A. And if not, then I should ask you for
        2                 No. 1 was marked for                    2   clarification.
        3                 identification by the court             3      Q. Yes.
        4                 reporter.)                              4      A. Okay.
        5      A. Do you want me to read the whole thing?         5      Q. Does that sound fair?
        6      Q. I don't want you to read the whole              6      A. I -- I do understand that, sure.
        7   thing. I do want you to take a moment to              7      Q. Okay. And if at any point you need a
        8   familiarize yourself with the document I handed       8   break, just let me know. Okay?
        9   you, and let me know when you're ready for a          9      A. Okay.
       10   question.                                            10      Q. All right. Have you seen Exhibit
       11          MR. EPSTEIN: Is that the same as this         11   Number 1 before just now?
       12   (indicating)?                                        12      A. I think I have.
       13          MR. BLONIEN: Indeed.                          13      Q. When did you see it?
       14          MR. EPSTEIN: I'm identifying MC 188           14      A. I think this was I -- presented on the
       15   through MC 19 like 4, I believe.                     15   first deposition.
       16          MR. BLONIEN: 5.                               16      Q. And just to be clear, when you say the
       17          MR. EPSTEIN: 5, yes, through MC 195,          17   first deposition, what do you mean?
       18   correct?                                             18      A. The first deposition I was at. That was
       19          MR. BLONIEN: Yes.                             19   back in Florida, I don't know when.
       20      A. Okay. I've looked at this.                     20      Q. When you were first deposed?
       21      Q. I realized that there's a couple               21      A. Yes.
       22   introductory things that I usually like to say at    22      Q. Okay. And what is the Exhibit Number 1?
       23   the outset and I didn't. So before turning to the    23      A. Retainer agreement.
       24   questions on the exhibit, let me just go through a   24      Q. Does that mean anything to you?


                                                   Page 19                                                 Page 21
        1   couple of quick things.                               1      A. It means that apparently we have hired
        2          One is to the best that we can, let's          2   Wanca to represent us in this class action, I
        3   try not to interrupt each other so that the court     3   believe, because it explains what class action is
        4   reporter's job is as easy as possible.                4   here also.
        5          If you have any questions or concerns or       5      Q. Okay.
        6   confusion about what I've asked, please let me        6      A. And Michelle signed it.
        7   know. If you don't ask me to clarify, then I'm        7      Q. Okay. Is that Ms. Zakzrewski's
        8   going to assume you understood my question and are    8   signature?
        9   answering it truthfully and fully; is that fair?      9      A. It is.
       10          MR. EPSTEIN: Objection. He can't -- he        10      Q. And is this retainer agreement
       11   can't know what you assume. He can answer a          11   consistent with your understanding, that is, that
       12   factual question, but he can't answer to what you    12   you hired Anderson & Wanca for the Tampa Bay
       13   assume.                                              13   Buccaneers litigation?
       14   BY MR. BLONIEN:                                      14      A. It is.
       15      Q. Okay. Did you hear what I said?                15      Q. Okay. Did you hire anyone else for the
       16      A. I think so.                                    16   Tampa Bay Buccaneers litigation, did Medical &
       17      Q. Okay. Does that sound fair to you?             17   Chiropractic?
       18      A. You're asking me to answer things I            18      A. We -- we hired their firm.
       19   understand.                                          19      Q. Anderson & Wanca?
       20      Q. Yes.                                           20      A. Yes.
       21      A. I understand that.                             21      Q. Okay. Apart from Anderson & Wanca, did
       22      Q. And only the things that you understand.       22   you hire anyone else to work on the Tampa Bay
       23      A. Correct.                                       23   Buccaneers litigation on your or M & C's behalf?
       24      Q. And if --                                      24      A. I think there was another attorney down


                                                                                  6 (Pages 18 to 21)
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        1   in Tampa, but I don't think we hired him. I think     1   the same time. I don't know those answers.
        2   he was part of some of the original paperwork from    2      Q. Okay. And do you know of anyone else,
        3   the other class defendant.                            3   apart from what might be the attorney from
        4      Q. I'm glad that you brought that up               4   Florida?
        5   because I think if I understood what you had said     5      A. No.
        6   earlier about your understanding of the claims,       6      Q. Okay. Do you know of any other lawyers
        7   you talked about the original suit against the        7   that were involved in the Tampa Bay class action,
        8   Buccaneers as compared to the competing lawsuit       8   setting aside the Bock Law Firm lawsuit that
        9   that Bock Law Firm had filed.                         9   happened afterward, apart from Anderson & Wanca
       10      A. Yes.                                           10   and this attorney from Florida?
       11      Q. But you understand that there was a            11      A. I thought that was all.
       12   pending class action before Medical & Chiropractic   12      Q. So I think that this is necessarily
       13   got involved against the Tampa Bay Buccaneers        13   true, but let me just be sure. Assuming that
       14   relating to these faxes?                             14   that's not all that's participated in the lawsuit,
       15      A. I don't think I understand.                    15   you wouldn't have any understanding of other
       16      Q. Okay. Do you know when Tampa Bay was           16   people involved or what their relationship was, is
       17   first sued for sending out fax advertisements?       17   that fair, if there were other attorneys?
       18      A. The original date?                             18      A. Other attorneys with lawsuits against
       19      Q. Or an approximation to the best of your        19   the Bucs as well?
       20   ability.                                             20      Q. Yes.
       21      A. If you're asking for the year, I don't         21      A. I would not.
       22   know.                                                22      Q. Okay. You indicated that Ms. Zakzrewski
       23      Q. Do you know whether Tampa Bay was -- the       23   and yourself that you've spent time in the Tampa
       24   Tampa Bay Buccaneers were sued before Medical &      24   Bay Buccaneers litigation, right?


                                                  Page 23                                                   Page 25
        1   Chiropractic got involved as a named plaintiff?       1      A. Correct.
        2      A. I do not know.                                  2      Q. Do you have an understanding of how much
        3      Q. Okay. Do you know whether there are any         3   time?
        4   other named plaintiffs involved in the Tampa Bay      4      A. Well, for me, it was today and the
        5   Buccaneers litigation?                                5   deposition day, the last one. That's two days for
        6      A. Besides the one that the Cohen firm             6   me.
        7   brought forth, that's the only two, I guess, that     7          And Michelle, at least six or more days
        8   I know of.                                            8   and several depositions; but I'm not sure how
        9      Q. So your understanding is that there's           9   many.
       10   Medical & Chiropractic; and you understand Medical   10      Q. Okay. And do I understand that answer
       11   & Chiropractic's role as a class representative,     11   to put this case and the Tampa Bay Buccaneers all
       12   right?                                               12   sort of in one bucket for how you're viewing
       13      A. Yes.                                           13   things?
       14      Q. And then you understand that there's           14      A. That's how I view them.
       15   someone else who sued after Medical & Chiropractic   15      Q. Okay. Have you ever spoken with
       16   that was represented by Bock Law Firm?               16   Mr. Wanca?
       17      A. Correct.                                       17      A. As far as for this case?
       18      Q. Who also sought to represent the class,        18      Q. At all, have you ever spoken with
       19   right?                                               19   Mr. Wanca?
       20      A. Yes.                                           20      A. Once.
       21      Q. Do you know of anyone else who sought to       21      Q. Okay. When was that?
       22   represent the class aside from those two?            22      A. We had dinner one evening, but I don't
       23      A. The -- it would have to be the attorney        23   remember when.
       24   in Tampa, but I don't know if that was before, at    24      Q. Do you know the year?


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        1       A. I think it was this year.                     1       Q. Anything else?
        2       Q. This year?                                    2       A. Well, I came up for a conference, and I
        3       A. Yeah.                                         3   was here for that; and then we had gone to a Cubs
        4       Q. 2017?                                         4   game, and we discussed that.
        5       A. Yes.                                          5           And we talked about, I believe, Ryan
        6       Q. So that would have been after M & C           6   travels quite a bit for the firm, so he was gone
        7    filed its lawsuit in this case?                     7   like three weeks or something; and that's about
        8       A. I don't know that.                            8   it.
        9       Q. Do you know when M & C filed its lawsuit      9           Mr. Wanca, he was down at the other end;
       10    in this case?                                      10   so I didn't have a one-on-one conversation with
       11       A. I do not.                                    11   him.
       12       Q. Did you talk with any -- have you ever       12       Q. Did the substance of the Tampa Bay
       13    talked with anyone else, apart from the one        13   Buccaneers litigation come up at all?
       14    conversation that you just identified with Brian   14       A. That was not discussed. I was told we
       15    Wanca, anyone else with Anderson & Wanca that      15   can't discuss it because, of course, I had some
       16    you've had a conversation with at any point?       16   questions. But it was not discussed.
       17       A. Ever had a conversation?                     17       Q. Who told you that you can't discuss it?
       18       Q. Yes, sir.                                    18       A. Ross Good told me. I believe Ryan also
       19       A. Of any kind?                                 19   told me. And I don't know if Mr. Wanca said
       20       Q. Yes, sir.                                    20   anything.
       21       A. Yes.                                         21       Q. What about the substance of this
       22       Q. And who?                                     22   litigation and the claims that M & C is making,
       23       A. Ross Good.                                   23   did that come up, or are you considering that
       24       Q. And who else?                                24   together?


                                                  Page 27                                                  Page 29
        1      A. There was another attorney at that             1      A. No. I don't believe that had come up at
        2   dinner. Mr. Wanca's first name is Brian?             2   that time --
        3      Q. Yes, sir.                                      3      Q. Okay.
        4      A. The other gentleman's name was Ryan. I         4      A. -- as far as I remember.
        5   don't know his last name.                            5      Q. Did you have a chance to ask the
        6      Q. Anyone else?                                   6   questions that you had afterward?
        7      A. Mr. Good's wife was there, so social.          7      A. No, because it was told there's --
        8      Q. And all of these meeting -- all three of       8   there's no discussion on it.
        9   these were at the dinner that you referred to        9      Q. There's no discussion?
       10   earlier in your testimony; that is, Ross Good,      10      A. There was no discussion on any of the
       11   Brian Wanca, and Ryan, were they all at the         11   Bucs matters.
       12   dinner?                                             12      Q. At that dinner?
       13      A. There was Ryan's girlfriend.                  13      A. Correct.
       14      Q. So yes, they were all at the dinner?          14      Q. What about after the dinner?
       15      A. Yes.                                          15      A. I don't deal with Mr. Wanca's firm per
       16      Q. And also some guests it sounds like?          16   se. Michelle does.
       17      A. I think that was it.                          17      Q. Okay.
       18      Q. Ryan's girlfriend and Ross's wife.            18      A. So if there were any, she would be the
       19      A. Yes.                                          19   one to ask those questions on.
       20      Q. Okay. And what did you discuss at that        20      Q. I appreciate that. And that's going to
       21   meeting?                                            21   make our time move fairly quickly here.
       22      A. The Cubs game.                                22         But in order to make sure I understand
       23      Q. The Cubs game?                                23   the whole range --
       24      A. Yes.                                          24      A. I understand.


                                                                                  8 (Pages 26 to 29)
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                                                  Page 30                                                   Page 32
        1      Q. -- we have a one dinner conversation           1          THE WITNESS: I don't think so.
        2   that happened likely sometime in 2017. Is there      2          MR. EPSTEIN: Is he one of the class
        3   any other conversations that you had with anyone     3   representatives or class attorneys?
        4   at Anderson & Wanca at any time about anything?      4          THE WITNESS: I think so.
        5      A. Michelle handles those questions --            5          MR. EPSTEIN: Okay. I'm going to
        6      Q. Okay.                                          6   caution him that if you ask anything about any
        7      A. -- anything pertaining to anything.            7   legal advice given by Mr. Addison that it be
        8      Q. I appreciate that Michelle handles -- is       8   subject to attorney-client privilege, and I would
        9   the one that's primarily responsible.                9   like an opportunity to talk to him about it before
       10          Can you recall any other conversation        10   and before he testifies.
       11   that you had with any member of Anderson & Wanca?   11          Go ahead.
       12      A. As -- are you talking about personal,         12   BY MR. BLONIEN:
       13   the Bucs? I'm not sure.                             13      Q. I think it's been clear on the record;
       14      Q. I am trying to make sure I understand as      14   but just to make sure we're clear clear, I guess,
       15   best as I can ask and as you can answer what the    15   to your knowledge, does Mr. Addison represent
       16   facts are that relate to this case. If there are    16   Medical & Chiropractic?
       17   personal conversations, I hope that you would       17      A. I'm not sure.
       18   answer yes and that we can discuss those. If not,   18      Q. Do you have any reason to assume that he
       19   then the answer would be different.                 19   does?
       20      A. Normally I would ask Michelle if I had a      20      A. I don't know that answer.
       21   question. Sometimes she gets personal information   21      Q. Okay. Have you ever talked to him about
       22   because women seem to talk to each other about      22   a relationship as an attorney with Medical &
       23   what they are doing from day to day, but not        23   Chiropractic?
       24   really about the Bucs that I know of.               24      A. I don't believe so.


                                                  Page 31                                                   Page 33
        1       Q. Okay. I think I understand how the            1      Q. Are you aware of any agreement that says
        2    normal process worked and how the delegation of     2   that Michael Addison was involved as an attorney?
        3    responsibilities were.                              3      A. I have never seen anything.
        4           What I need to know is whether, apart        4      Q. Okay. Have you seen a retainer
        5    from the dinner that you've already described,      5   agreement that reflects the terms of the Tampa Bay
        6    whether you can recall any other conversations      6   Buccaneers class action litigation?
        7    that you, Dr. Williams, had with attorneys at       7      A. This is the one I've only seen
        8    Anderson & Wanca.                                   8   (indicating).
        9       A. I don't believe I have.                       9      Q. And if you could turn on the one that
       10       Q. Okay. Do you recall ever having a            10   you have seen to 189, the bottom, it says, Other
       11    conversation with Michael Addison?                 11   Attorneys. Do you see where I'm reading from?
       12       A. Yes.                                         12      A. I see that.
       13       Q. Okay.                                        13      Q. "Client agrees that plaintiff's counsel
       14       A. Yes.                                         14   may affiliate with other law firms to assist with
       15       Q. Tell me about that.                          15   this representation, shall notify client of such
       16       A. We had gone to dinner in Tampa. And I        16   affiliation, and shall provide client with such
       17    think it was for the original case, but it was     17   other attorney's agreement to the terms of the
       18    nothing really specific because I don't know       18   this retainer agreement, and shall obtain client's
       19    specific questions to ask other than general       19   written consent to such retention."
       20    questions.                                         20           Did I read that right?
       21           MR. EPSTEIN: And I'm going to make a        21      A. You read what was said.
       22    general objection and caution the witness, if      22      Q. And the next sentence is, "Client agrees
       23    there's anything -- does Mr. Addison represent     23   that he is not now and has never been" -- sorry.
       24    you, your company --                               24   Let me repeat that.


                                                                                  9 (Pages 30 to 33)
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                                                   Page 34                                                        Page 36
         1           "Client agrees that he is not now and         1      A. I'm not sure I really understand.
         2   has not ever been represented by any other            2      Q. Do you know whether Mr. Wanca was a
         3   attorney with regard to the claims against            3   licensed attorney in Florida?
         4   defendants."                                          4     A. Yes.
         5           Did I read that correctly?                    5     Q. He is?
         6      A. Yes.                                            6     A. Yes.
         7      Q. Do you have any facts that suggest that         7     Q. And did he tell you that?
         8   that's not correct?                                   8     A.    I believe --
         9      A. No.                                             9         MR. EPSTEIN: You can answer that
        10      Q. Okay. So to the best of your knowledge,        10   question.
        11   that would be accurate?                              11     A. I believe he said he's practiced many
        12      A. Correct.                                       12   years, but I don't know how many. So I'm assuming
        13      Q. That Anderson & Wanca and only Anderson        13   he's a licensed Florida attorney.
        14   & Wanca was your attorney, your being M & C's        14     Q. And when did he tell you that?
        15   attorney, for its claims against the Tampa Bay       15     A. I believe it was at that dinner --
        16   Buccaneers, correct?                                 16     Q. Okay.
        17           MR. EPSTEIN: Objection. It misstates         17      A. -- in general conversation.
        18   the record.                                          18      Q. Okay. You mentioned that there were --
        19           But go ahead and answer if you wish.         19   there was some time that both you and
        20           MR. BLONIEN: Okay. In what manner does       20   Ms. Zakzrewski spent away from the office as a
        21   that misstate the record, Counsel?                   21   result of the litigation, right?
        22           MR. EPSTEIN: Why don't you ask the           22     A. Yes.
        23   witness.                                             23     Q. How much time did you spend on the Tampa
        24           MR. BLONIEN: I'm asking you as making        24   Bay Buccaneers case would you estimate?


                                                   Page 35                                                        Page 37
         1   the objection --                                      1       A. Two days.
         2          MR. EPSTEIN: Well, I'm making the              2       Q. And --
         3   objection --                                          3       A. I'm sorry. Two days for the deposition
         4          MR. BLONIEN: -- for you to clarify             4    and the one day I flew up here, three days.
         5   what your objection --                                5       Q. And how much money are you seeking for
         6          MR. COHEN: Guys, don't talk over,              6    that time?
         7   please.                                               7       A. I don't understand the question.
         8          MR. EPSTEIN: Why don't you finish.             8       Q. You've -- M & C has sued Mr. Oppenheim,
         9          MR. BLONIEN: I'm asking you to clarify         9    right?
        10   what your objection is, please.                      10       A. Yes.
        11          MR. EPSTEIN: You misstated the record.        11       Q. And Bock Law Firm.
        12   You can read back the record. I don't know how       12       A. Yes.
        13   else to answer it, but you misstated the record.     13       Q. And they are seeking damages in that
        14   We can read back what the record says if you wish,   14    case?
        15   and he will stand by what he says in the record.     15       A. Yes.
        16   I don't know what else you want me to explain.       16       Q. How much damage?
        17          MR. BLONIEN: Layli, can you please            17       A. I believe it's $15,000.
        18   repeat the question that I asked?                    18       Q. And that's for a lost incentive award?
        19                (Whereupon, record was read as          19       A. Yes.
        20                 requested.)                            20       Q. Apart from the lost incentive award, is
        21          MR. EPSTEIN: That's the same objection.       21    M & C seeking any damage for the time that it
        22          I said you can answer it if you -- if         22    spent in this litigation?
        23   you -- if you can understand it and know the         23           MR. EPSTEIN: Objection. It's really a
        24   answer.                                              24    legal question.


                                                                                     10 (Pages 34 to 37)
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                                                  Page 38                                                  Page 40
         1           But if you can answer it, answer it.         1         MR. EPSTEIN: Objection --
         2       A. I don't think I -- I -- am I personally       2   BY MR. BLONIEN:
         3    suing him for time?                                 3     Q. -- do --
         4       Q. Well, the lawsuit is on behalf of             4         MR. EPSTEIN: Are you done?
         5    Medical & Chiropractic Clinic, Inc., correct?       5         MR. BLONIEN: I am not. I was in the
         6       A. I -- right, but I don't -- I don't quite      6   middle of my sentence.
         7    understand the --                                   7         MR. EPSTEIN: I thought you were done.
         8       Q. Are you seeking to recoup the time that       8   BY MR. BLONIEN:
         9    you've spent in this case?                          9     Q. Are you seeking to recover the time that
        10       A. I believe that's under that whole            10   you lost in this case, and if so, how much?
        11    umbrella.                                          11     A. And I --
        12       Q. The $15,000 would cover --                   12         MR. EPSTEIN: Objection.
        13       A. Correct.                                     13         I'm going to ask you to stop so I can
        14       Q. -- it all?                                   14   make my objection.
        15       A. Yes.                                         15         It calls for a legal conclusion.
        16       Q. Is there anything, apart from the            16         But go ahead and answer it.
        17    $15,000, that you can think of that M & C is       17     A. I think that's covered under the 15,000.
        18    asking for as damages in this case?                18     Q. Okay.
        19           MR. EPSTEIN: Again, it calls for a          19     A. That's as a part of the legal
        20    legal conclusion.                                  20   representative as a class representative.
        21           But go ahead and answer.                    21     Q. Do you know of any other facts that
        22       A. I don't -- I don't know that answer.         22   support damages, apart from the incentive award,
        23       Q. Okay.                                        23   that $15,000 that you're talking about?
        24       A. I -- I don't know. I don't know that         24     A. I don't know what facts you may be


                                                  Page 39                                                  Page 41
         1   answer.                                              1   referring to.
         2       Q. You don't know that answer. The only          2      Q. I don't know what facts I'm referring to
         3   thing that you know is the $15,000?                  3   either because I'm asking you what personal
         4       A. Yes.                                          4   knowledge you have. And if you don't have it,
         5       Q. Okay. And you're not aware of any other       5   that's simple. I'm just trying to make sure that
         6   facts as to what the damages might be in this        6   I'm not missing anything here.
         7   case?                                                7      A. I don't -- I don't have any other
         8          MR. EPSTEIN: Objection. He already            8   knowledge.
         9   answered what he believed to be the factual          9      Q. You don't have any other knowledge of
        10   predicate.                                          10   the ways in which Medical & Chiropractic was
        11   BY MR. BLONIEN:                                     11   allegedly damaged by Mr. Oppenheim and Bock Law
        12       Q. He's not instructing you not to answer,      12   Firm?
        13   so you need to answer.                              13           MR. EPSTEIN: I believe it's been asked
        14       A. No. I'm trying to understand, again,         14   three times.
        15   for my portion --                                   15           But go ahead and ask it -- answer it
        16       Q. Mm-hmm.                                      16   again.
        17       A. -- it was the three days at least.           17      A. I -- from the -- from my time away and
        18   That's the only time that I've been away from the   18   Michelle's time, that's it.
        19   office. And then Michelle's time, whatever that     19      Q. The 15,000 bucks?
        20   is.                                                 20      A. Yes.
        21       Q. Okay. And my question then, recognizing      21      Q. Okay. Do you have any personal
        22   that you're saying that you spent time away from    22   knowledge of facts that would support the breach
        23   the office in this litigation, are you seeking to   23   of fiduciary duty claim that M & C is bringing
        24   recover that --                                     24   against Mr. Oppenheim?



                                                                                11 (Pages 38 to 41)
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                                                    Page 42                                                  Page 44
         1           MR. EPSTEIN: Objection. It requires           1   responding to Mr. Blonien's questions use the name
         2   him to be knowledgeable about a legal concept, and    2   Cohen referring to somebody, something, some stuff
         3   you haven't let -- you haven't created the            3   that I don't think it's me, but since I didn't
         4   foundation for that.                                  4   know what you were talking about, I don't know.
         5           MR. BLONIEN: Okay. That's an awfully          5          What were you referring to generally?
         6   long objection, and I would encourage you to limit    6   And I'm not looking for you to give me some big
         7   it to form and not be giving a narrative              7   narrative. If you can even give me an idea of
         8   instruction for the witness, please, Counsel.         8   what you were referring to when you would have
         9   BY MR. BLONIEN:                                       9   used the name Cohen in your earlier testimony
        10       Q. Go ahead and answer.                          10   answering Mr. Blonien's questions, I can then have
        11       A. Ask would you repeat the question,            11   some follow-up questions.
        12   please. I'm sorry.                                   12      A. That was pertaining to your filing --
        13           MR. BLONIEN: Okay. Kayli, can you            13   your firm filing the other class action, I
        14   repeat -- or Layli, sorry, can you repeat the        14   believe.
        15   question?                                            15      Q. The Technology Training case?
        16                (Whereupon, record was read as          16      A. I'm not familiar with Technology.
        17                 requested.)                            17      Q. Okay. And I'll represent to you,
        18           MR. EPSTEIN: Same objection.                 18   Medical & Chiropractic has been a named plaintiff
        19       A. I'm still not quite understanding your        19   in what we call a putative or potential class
        20   question.                                            20   action against the Buccaneers; and another named
        21           Can -- can you say it again, please?         21   plaintiff in that case is called Cin-Q
        22                (Whereupon, record was read as          22   Automobiles.
        23                 requested.)                            23          So even though Medical & Chiropractic is
        24       A. No.                                           24   the named plaintiff in that case, everybody has


                                                    Page 43                                                  Page 45
         1      Q. Do you have any personal knowledge of           1   been referring to that as the Cin-Q case. Okay?
         2   facts that would support the aiding and abetting      2      A. Our case is considered the Cin-Q case?
         3   claim against Bock Law Firm?                          3      Q. That's the way everybody calls it. I'll
         4          MR. EPSTEIN: Objection to the form of          4   just ask you to assume that. Okay?
         5   the question.                                         5      A. Okay.
         6      A. No.                                             6      Q. Okay. And then the Bock Law Firm, by
         7          MR. BLONIEN: Okay. Let's take a short          7   which I'm employed, in May of 2016 filed a
         8   break, please. Off the record.                        8   putative class action against the Buccaneers
         9          THE VIDEOGRAPHER: Off the record. The          9   relating to the same fax broadcasting; and one of
        10   time is 1:25.                                        10   the two named plaintiffs in the putative class
        11                (Whereupon, a short break was           11   action we filed is called Technology Training
        12                 taken.)                                12   Associates.
        13          THE VIDEOGRAPHER: We are back on the          13          So most of us are calling that case the
        14   record. The time is 1:31.                            14   Technology Training case. Okay?
        15                EXAMINATION                             15      A. Okay.
        16   BY MR. COHEN:                                        16      Q. All right. And I am employed by Bock
        17      Q. Good afternoon, sir. My name is Dan            17   Law Firm, so I have been involved in the
        18   Cohen. And I do recall seeing you in this, I         18   Technology Training case.
        19   think, same conference room when we did the          19          When I heard my name come up earlier in
        20   depositions of David Oppenheim and Phil Bock; but    20   your discussions with Mr. Blonien, were you
        21   I don't know if we actually got to introduce         21   referring to my participation or role in
        22   ourselves at the time.                               22   prosecuting the Technology Training case?
        23          Because my name is Dan Cohen and because      23      A. I thought you were a partner in the
        24   I heard you multiple times in your testimony         24   firm, whatever that is.


                                                                                  12 (Pages 42 to 45)
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         1       Q. I wish, sir.                                   1      A. Yes.
         2       A. And that you represented the firm.             2      Q. Okay.
         3       Q. And so you know, I represent Bock Law          3      A. It's called a what?
         4   Firm because Bock Law Firm is a party. It's a         4      Q. Incentive award.
         5   defendant that has been sued in this case, sued by    5      A. Incentive award. Okay.
         6   Medical & Chiropractic. And even though I'm           6      Q. Are you aware that in the Technology
         7   employed by Bock Law Firm, I'm also representing      7   Training case, the other Buccaneers class action
         8   it as one of its counsel in this case. Is that        8   where Bock Law Firm is prosecuting it, that
         9   fair?                                                 9   everybody in that case has agreed that if that
        10       A. So you're not a partner?                      10   settlement gets finally approved that Medical &
        11       Q. I am not a partner.                           11   Chiropractic is free to submit its petition for an
        12       A. You're an employee, and it's really the       12   incentive award to the judge in the Technology
        13   Bock Law Firm I should have been speaking about      13   Training case with the opportunity to receive the
        14   as -- is that correct?                               14   same incentive award it would have received if the
        15       Q. Yeah, I think so. And that's -- no            15   settlement had occurred in the Cin-Q case instead;
        16   criticism.                                           16   are you aware of that?
        17       A. Okay, okay.                                   17      A. No.
        18       Q. Just I kept hearing my last name. I           18      Q. Okay. Would that be significant to you
        19   wasn't even sure if you were talking about me        19   in evaluating whether Medical & Chiropractic had
        20   because of the way it was coming up.                 20   actually suffered this harm, this loss of this
        21       A. As never really knowing you, I don't          21   $15,000 incentive award, to know that there is
        22   know.                                                22   nothing to prevent Medical & Chiropractic from
        23       Q. Okay. But now we're speaking the same         23   requesting and receiving that award through the
        24   language.                                            24   settlement of the Technology Training case? Would


                                                    Page 47                                                  Page 49
         1      A. I think so.                                     1   that be significant to you in evaluating whether
         2      Q. Okay. And this -- my question won't             2   Medical & Chiropractic has actually necessarily
         3   take as long as Mr. Blonien's. And he didn't take     3   suffered that harm?
         4   very long, but I -- I'll probably be even shorter.    4          MR. EPSTEIN: Objection, form of
         5           When Mr. Blonien asked you to explain or      5   question.
         6   detail Medical & Chiropractic's harm or injury        6      A. Let me ask you a question. You're
         7   allegedly resulting from some misconduct by           7   saying that if the -- the incentive award with
         8   Mr. Oppenheim and Bock Law Firm, one of the things    8   Wanca could be the same incentive award with your
         9   you -- these just my notes, so it's not a             9   firm?
        10   verbatim. So if you think I'm saying something       10      Q. Close. And by the way, I don't mind it
        11   incorrect, don't let me put words in your mouth.     11   doing that.
        12           You said something to the effect, we,        12      A. Because I'm a little confused.
        13   which I assume means Medical & Chiropractic, are     13      Q. Sure.
        14   the class representative in what I call the Cin-Q    14      A. And I'm not --
        15   case and as class representative were entitled to,   15          MR. EPSTEIN: Just tell him you're
        16   and you used the words small stipend or stipend      16   confused and let him restate it.
        17   (pronounced different)?                              17      A. Okay. I'm confused.
        18      A. Yes.                                           18      Q. I don't mind answering questions if it
        19      Q. Okay. And then in later discussions            19   gets us through confusion.
        20   with Mr. Blonien, you clarified that what the        20          What I'll ask you to assume is the
        21   quantification of that -- and I'll tell you, we      21   attorneys don't control incentive awards. They
        22   call that incentive award in class actions for       22   can't promise them, they can't guarantee them, and
        23   whoever serves as the class representative -- you    23   they don't get to decide the amount.
        24   quantified that at $15,000.                          24          The judge having control of the class



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         1   action, if he approves the settlement, that judge     1   to do with me here today. I'm not really
         2   can decide whether somebody is entitled to an         2   understanding --
         3   incentive award and, if so, how much it should be.    3      Q. Okay. Well --
         4           And it just so happens in the Cin-Q case      4      A. -- the question.
         5   and in the Technology Training case, it's the same    5      Q. -- you seem to be suggesting that your
         6   judge. It's Judge Porcelli. He's the judge            6   harm is increased, so the incentive award isn't
         7   overseeing the Cin-Q case with Medical &              7   the only issue because in addition to that, you
         8   Chiropractic. He's the judge overseeing the           8   and your wife have had to come testify.
         9   Technology Training case.                             9          But if finding out that you could have
        10           And so all I'm asking you -- and I asked     10   gotten the incentive award in the Technology
        11   you if you were aware, and you said no, so I'll      11   Training case could have made this lawsuit
        12   ask you to assume in the Technology Training case,   12   unnecessary, then you never would have had to come
        13   everyone agreed that if the proposed settlement      13   and give these depositions.
        14   for the class gets approved, then Medical &          14          MR. EPSTEIN: Is that your testimony or
        15   Chiropractic is free to request and receive from     15   your argument, or is that a question?
        16   Judge Porcelli whatever incentive award it might     16   BY MR. COHEN:
        17   have been able to request and obtain if the          17      Q. So I'm asking you: With that in mind,
        18   settlement had happened in the Cin-Q case; but       18   why doesn't that have any effect on your
        19   it's just going to happen in the Technology          19   assessment of whether you've been harmed to the
        20   Training case.                                       20   tune of the incentive award?
        21           And I know you don't know that to be         21          MR. EPSTEIN: I think that's been the
        22   true, and you don't have to accept what an           22   fourth time that's been asked, and it's getting
        23   attorney tells you to be truth.                      23   argumentative -- let me finish -- and I object to
        24           But if I ask you for purposes of this        24   the form of the question because it's getting


                                                    Page 51                                                  Page 53
         1   question to assume that's true, would that have       1   argumentative.
         2   any effect on your assessment of whether the          2   BY MR. COHEN:
         3   Technology Training case has harmed Medical &         3      Q. You can answer.
         4   Chiropractic by affecting the possibility of an       4      A. I think I'm more confused.
         5   incentive award?                                      5         MR. EPSTEIN: Thank you.
         6          MR. EPSTEIN: Objection, form of                6      A. But the original case with Wanca, I
         7   question.                                             7   think we should follow through with Wanca
         8      A. Well, I believe it -- it has because of         8   irregardless of who wins. I believe that is the
         9   these -- I believe the depos for myself and           9   correct way to do so and fair way to do so.
        10   Michelle are a result of this, not in favor of us    10      Q. Why do you believe you should follow
        11   whether we win with Bock or with Wanca. It's         11   through with Wanca?
        12   still we're harmed either way you look at it         12      A. I think they have worked very hard on
        13   because of our loss of time, and then we've had      13   this case for many years and put forth a lot of
        14   additional time because of these depositions.        14   effort and time; and I know my wife has over a
        15      Q. Did you know that this agreement in the        15   year or so, however long it's been. And so I
        16   Technology Training case, namely, that Medical &     16   typically stay with the first person, if that's
        17   Chiropractic was free to request and receive         17   what you're asking.
        18   whatever incentive award it's entitled to in the     18      Q. You dance with the one that brung you?
        19   Technology Training case, did you know that that     19      A. Yes.
        20   agreement happened well before yourself and your     20      Q. Now, you said, "I think we should follow
        21   wife were deposed in this case?                      21   through with Wanca irregardless of who wins."
        22          MR. EPSTEIN: Objection, form of               22         And I just want to make certain I'm
        23   question.                                            23   understanding what that refers to, "irregardless
        24      A. I -- I'm not sure if that has anything         24   of who wins."


                                                                                  14 (Pages 50 to 53)
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         1          Which -- which two sides are the winners       1   would stand to benefit more, anybody who was on
         2   versus the losers in that statement, "irregardless    2   that list.
         3   of who wins?"                                         3      Q. And I do understand what you've said,
         4          MR. EPSTEIN: Objection, form of                4   but I'm not positive if it fully responds to what
         5   question.                                             5   my question was.
         6      A. I don't decide who wins or loses. The           6           My question is: Do you perceive that
         7   court does, and you all do. So that's all I can       7   your prosecution, M & C's prosecution, of this
         8   tell you on that.                                     8   case against Mr. Oppenheim and Bock Law Firm
         9      Q. I'm not being clear. When you say               9   serves the interest of trying to make sure that
        10   "irregardless of who wins," I don't know if you      10   the Cin-Q action is the one that goes forward
        11   mean in this lawsuit whether Medical &               11   against the Buccaneers?
        12   Chiropractic wins versus Bock and -- Bock Law Firm   12           MR. EPSTEIN: Objection to form of
        13   and Oppenheim winning or whether you're talking      13   question.
        14   about the Cin-Q case and the issue is whether        14           But go ahead and answer if you
        15   Medical & Chiropractic and Cin-Q win or the          15   understand it.
        16   Buccaneers win.                                      16      A. I'm not sure I fully understand a lot of
        17          When you say "irregardless of who wins,"      17   these questions.
        18   I don't know in which case you're talking about.     18           But I think if you're asking for more
        19   Can you clarify that for me?                         19   and you get more, you should stay with that
        20      A. That would be the first case with the          20   person, that -- that attorney firm who is
        21   Bucs, the Cin-Q case.                                21   representing the case -- the class better than
        22      Q. Okay. And I appreciate that. Now I get         22   undercutting the first one for 20 million, which
        23   it. You think you should follow through with         23   is -- I don't know relatively what it's worth and
        24   Wanca without regard to who ends up winning in the   24   what it's not worth. But I still think that's a


                                                   Page 55                                                    Page 57
         1   Cin-Q case; whether it's the plaintiffs or the        1   better goal for the class as a whole; and as a
         2   Buccaneers, you think the follow -- go -- go to       2   class representative, I should represent that.
         3   the end with Wanca.                                   3          And in that regard, the case against
         4      A. Yes.                                            4   Mr. Oppenheim should go forward with what --
         5      Q. Okay. And do you perceive that by               5   however Mr. Wanca is carrying it forward because
         6   prosecuting this case -- and by you, I mean M &       6   obviously there's issues there.
         7   C -- prosecuting this lawsuit against                 7      Q. I understand your last answer, and I
         8   Mr. Oppenheim and Bock Law Firm that it serves the    8   understand the one you gave before that. You're
         9   interest of trying to make sure that the Cin-Q        9   talking about bigger is better, more is better,
        10   case is the one that gets to go forward against      10   Wanca's dedicated to getting more, you think, than
        11   the Buccaneers?                                      11   the Bock Law Firm got in its settlement. I
        12          MR. EPSTEIN: Objection to form of             12   understand that.
        13   question.                                            13          I'm focused on why you're prosecuting
        14          THE WITNESS: Do you want me to answer?        14   this case. And my only question is: Are you
        15          MR. EPSTEIN: Yeah, if you can.                15   prosecuting this case to try to help serve the
        16      A. Okay. So if I go back to the appellate         16   Cin-Q case so the Cin-Q case has its chance to go
        17   brief that I read where Cin-Q was charging 70        17   forward?
        18   million or so, I believe that's right, and the       18          MR. EPSTEIN: Objection, form of
        19   Bock was about 20 million, representing the class    19   question.
        20   would be much better for the class as a whole,       20      A. You're talking about the case against
        21   wouldn't it, to go for the 70 million versus the     21   Mr. Oppenheim itself, is that --
        22   20 million or whatever the case may be, if it was    22      Q. Yes, this case --
        23   even 25 million or 30 million.                       23      A. This case, this only -- let's talk about
        24          But if that was the case, then we all         24   one case at a time, and maybe I could be more



                                                                                  15 (Pages 54 to 57)
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                                                      Page 58                                                Page 60
         1   understanding.                                        1   it.
         2     Q. But I'm trying to see if there's a               2          THE WITNESS: Thank you very much.
         3   connection --                                         3          Can you still hear me? Okay.
         4        MR. EPSTEIN: Let him -- let him finish           4          Yes, sir.
         5   answering the question, please.                       5   BY MR. COHEN:
         6     A. Because I'm confused about the Cin-Q             6      Q. Okay. So going back to something you
         7   case and Mr. Oppenheim's case because they seem to    7   said a little while ago, you were telling me -- I
         8   roll in together; but they are really separate        8   asked a question; and in your answer to the
         9   cases is what you're saying, correct?                 9   question, you brought up the court of appeals, the
        10     Q. Well, they are separate lawsuits.               10   recent court of appeals' decision.
        11     A. So then you're asking me what I think           11          And you said that it was -- it referred
        12   about Mr. Oppenheim's separate case.                 12   to the Cin-Q case seeking $70 million and the Bock
        13     Q. I'm asking you if you're doing B to help        13   Law Firm case settling for $20 million; and then
        14   A. A is the Cin-Q case. B is this case against       14   you said you weren't sure, maybe it was 20, maybe
        15   Mr. Oppenheim. I want to know: Are you doing B,      15   it was 25.
        16   the lawsuit against Oppenheim, to help A, the        16          Where did you get those numbers, 70
        17   Cin-Q case?                                          17   million on the Cin-Q case, 20 to $25 million on
        18         MR. EPSTEIN: Objection, again, form of         18   the Bock Law Firm case?
        19   question.                                            19      A. It was in that paper.
        20     A. Well, I'm not sure if B helps A.                20      Q. And I'll talk to you about that a little
        21     Q. Okay.                                           21   bit more. But wherever it came from, you have
        22        THE WITNESS: I probably --                      22   received that kind of information that what the
        23        MR. EPSTEIN: You took the table with            23   plaintiffs were seeking in the Cin-Q action was
        24   you.                                                 24   somewhere up around $70 million and the Bock Law


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         1            THE WITNESS: I believe I did.                1   Firm was around 20 to $25 million?
         2            MR. EPSTEIN: Happens to me all the           2       A. In that paper, yes.
         3    time.                                                3       Q. Do you have any personal knowledge from
         4           THE WITNESS: Sorry.                           4   your own involvement in -- as Medical &
         5           MR. EPSTEIN: I'll get you some coffee.        5   Chiropractic and as being the potential class
         6    Why don't you just --                                6   representatives, do you have any information or
         7           THE WITNESS: I was going to get some          7   knowledge as to whether either of those numbers
         8    water.                                               8   are true?
         9           MR. EPSTEIN: I'll get you some water.         9       A. I do not.
        10           MR. COHEN: Take your time.                   10       Q. And I think I got this quote right, but
        11           MR. EPSTEIN: Why don't you just be           11   it's part of a bigger statement you made; and I
        12    seated.                                             12   didn't write down the whole thing. I only wrote
        13           THE WITNESS: Okay. I apologize.              13   down the quote.
        14           Is it still hooked on?                       14           I've got that you said, "So I think we
        15           MR. EPSTEIN: Hold on for a second.           15   should go forward however Mr. Wanca is carrying it
        16           MR. COHEN: We'll wait.                       16   forward."
        17           THE WITNESS: Okay. I apologize.              17           What were you referring to, and what do
        18           MR. EPSTEIN: You want some ice in it?        18   you mean by that?
        19           THE WITNESS: No, just water, please.         19       A. The Cin-Q case.
        20    Thank you.                                          20       Q. Okay. And what do you mean by "go
        21           MR. BLONIEN: I can assure you, Doctor,       21   forward however Mr. Wanca is carrying it forward?"
        22    you've been -- you're in good company in having     22       A. Well, I don't know the legal procedures
        23    done that.                                          23   of what comes today, tomorrow, or next week. The
        24           MR. OPPENHEIM: Well, you watched me do       24   attorneys do. You know the format. I do not.



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                                                   Page 62                                                     Page 64
         1      Q. So you are relying on Mr. Wanca's               1          As you recall, and I know it was a while
         2   knowledge and expertise, fair?                        2   ago, but was Brian Wanca or his firm's
         3      A. Yes.                                            3   information, his contact information and whatnot,
         4      Q. You're relying on his good judgment.            4   actually in some of the documents in that packet?
         5      A. Yes.                                            5      A. I don't know. They give me a packet. I
         6      Q. And you're relying on the fact that he          6   look at it briefly. I go, okay. It's another
         7   wouldn't put his interests ahead of the interest      7   thing. And here, I don't know if this means
         8   of the class that he's trying to represent.           8   anything or not, which we get that stuff all of
         9      A. Yes.                                            9   the time. It's, you know, solicitation type
        10      Q. Is it fair to say though that since            10   stuff, informational type stuff. Accountants do
        11   you're deferring to his expertise and judgment,      11   it. They all do it to give you their information
        12   you don't know whether the positions he is staking   12   on how they best -- how they can help you.
        13   out in settlement negotiations with the              13      Q. Left it to Ms. Zakzrewski to review?
        14   Buccaneers, you don't know whether he's acting in    14      A. I just -- she wasn't there. I just gave
        15   the best interest of the class or, alternatively,    15   it to her and said, "Would you go over this and
        16   whether he's putting his self interest ahead of      16   see if this has any merit."
        17   the class; you don't know one way or the other, do   17      Q. Do you know from that point, when you
        18   you?                                                 18   gave her the packet and said what you just told
        19      A. No.                                            19   me, do you know what unfolded or transpired that
        20      Q. As you understand it, how did Medical &        20   then actually led to communication between your
        21   Chiropractic -- and by that, I mean the company or   21   wife and anyone at Anderson Wanca?
        22   you or your wife -- how did you all in the very      22      A. No. I don't know any of that.
        23   beginning ever know about, come into contact with    23      Q. It's my understanding that Brian Wanca
        24   Brian Wanca or his firm?                             24   or his law firm has agreed to cover all of the


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         1       A. I had gone to a local in -- well, it's         1   legal fees for the Foley law firm in prosecuting
         2   not informal, I guess it's informal -- radiology      2   this case for M & C against Oppenheim and Bock,
         3   center in conjunction, I believe, with a law firm.    3   including all of Foley law firm's litigation
         4   But I don't know which one because it happens all     4   expenses. Is that your understanding too?
         5   the time.                                             5       A. I believe so.
         6          They get together and bring all the            6       Q. Do you have any idea how much the Foley
         7   doctors together in the area. So you get 50, 100,     7   firm has invoiced to Anderson Wanca and how much
         8   200 doctors together; and they bring up new           8   Anderson Wanca has paid in Foley's legal fees and
         9   Florida law, new interesting cases, things that       9   litigation costs to date?
        10   are pertinent to what we do.                         10       A. You're asking me if I know how much
        11          And in that setting, they brought forth       11   Mr. Wanca has paid the law firm of Foley?
        12   a packet of information on -- one of the attorneys   12       Q. If you have any idea at all.
        13   had mentioned something on these type of faxes       13       A. I have no idea.
        14   that were not legal. And they gave us a packet of    14       Q. You haven't seen any invoices at any
        15   information.                                         15   time?
        16          I took that information from this             16       A. No, sir.
        17   conference, whatever you wish to call it, and then   17       Q. And I'll -- I'll ask you to assume that
        18   took it to my wife. And I said, "Here, this is       18   as of early this year, February, March of this
        19   what they told me. This is the information I         19   year, the Foley firm had already billed Brian
        20   have. I don't know anything about this, but here     20   Wanca; and Brian Wanca had already paid just under
        21   it is. You can look it up."                          21   $400,000 in attorneys' fees and expenses on this
        22          And I believe that's how she got ahold        22   case that Medical & Chiropractic has brought
        23   of Mr. Wanca.                                        23   against Mr. Oppenheim and Bock Law Firm. And a
        24       Q. And do you know if -- strike that.            24   lot has happened since then. So it's got to be a



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         1   lot more by now.                                      1   But go ahead and ask it, and he'll answer it --
         2           If Bock law -- I'm sorry.                     2          MR. BLONIEN: You know, I'd like to
         3           If Brian Wanca and his firm weren't           3   interpose an objection as well. Mr. Epstein, I've
         4   willing to pay M & C's fees and expenses in           4   been --
         5   prosecuting this case, would you be willing to        5          MR. EPSTEIN: That's fine.
         6   incur those kinds of fees and expenses to             6          MR. BLONIEN: -- watching you make all
         7   prosecute this case?                                  7   sorts of facial gestures and guffawing at the
         8           MR. EPSTEIN: Objection, form of               8   questions that are being asked --
         9   question.                                             9          MR. EPSTEIN: Yes.
        10      A. I don't have those type of funds.              10          MR. BLONIEN: -- and whispering to
        11      Q. I am not for purposes of this question         11   co-counsel in his ear --
        12   criticizing the idea that an incentive award could   12          MR. EPSTEIN: Yeah.
        13   be $15,000 or so or calling into question any of     13          MR. BLONIEN: -- all of which entirely
        14   your claimed damages in this case. I'm not           14   are inappropriate and in my view are directing the
        15   acknowledging them either. I'm just saying, I        15   answers of the witness, which is not okay.
        16   heard what you said about your harm, your damages.   16          And I'm also confused. I don't think
        17           You would agree that spending 500, 600,      17   that you've ever made an appearance in this case,
        18   $700,000 or more on this lawsuit that Medical &      18   have you?
        19   Chiropractic has brought against Mr. Oppenheim and   19          MR. EPSTEIN: My firm has appeared in
        20   Bock Law Firm, that much money greatly exceeds any   20   this case.
        21   damages that Medical & Chiropractic suffered         21          MR. BLONIEN: My question is: Have you
        22   because of anything that Mr. Oppenheim or Bock Law   22   made an appearance in this case?
        23   Firm did. You would agree with that, wouldn't        23          MR. EPSTEIN: I'm not a witness, and you
        24   you?                                                 24   can cross-examine the witness if you want.


                                                     Page 67                                                 Page 69
         1          MR. EPSTEIN: Objection, form of                1          And second of all --
         2   question.                                             2          MR. BLONIEN: I'd also like to object --
         3      A. I'm not sure I understand the relevance         3          MR. EPSTEIN: -- the questions that your
         4   of the 15,000 versus 5 or 700,000 in the 2            4   co-counsel has been asking has been his own
         5   separate -- they are 2 separate issues.               5   narrative. They have lasted far, far longer than
         6      Q. Why?                                            6   the answer has; and what he assumes is well beyond
         7      A. Well, I thought they were.                      7   the purview of asking a question of this witness.
         8      Q. Well, you bring a lawsuit to get your           8          But go ahead and ask your question of
         9   sense of damages. You feel you've been damaged in     9   the witness.
        10   a certain amount of money. You want to get -- you    10          MR. BLONIEN: I'd also like to state an
        11   want to get your damages.                            11   objection that Mr. Epstein has not made an
        12          So if your damages are a thousand             12   appearance in this case pro hac vice or otherwise.
        13   dollars, as long as you don't have to spend more     13   Mr. McMahon has who is sitting here and would be
        14   than a thousand to get it, maybe it's worth it.      14   more of a legitimate person to be making these
        15   But a lot of people would think spending $10,000     15   sorts of objections than Mr. Epstein who has not
        16   to get $1,000 in damages isn't worth it.             16   made an appearance in this case.
        17          Why would you prosecute a case to             17          I apologize for interrupting.
        18   recover some 10,000, 15,000, 25,000, $30,000 in      18          MR. COHEN: That's okay.
        19   damages that M & C allegedly suffered? Why would     19          For somebody who is participating
        20   you go forward with that case if it's costing        20   without an appearance at the courtesy of defense
        21   hundreds and hundreds and hundreds of thousands of   21   counsel, I would appreciate it if you kept your
        22   dollars to prosecute?                                22   critiques to yourself.
        23          MR. EPSTEIN: Objection, form of               23   BY MR. COHEN:
        24   question. This is getting very argumentative.        24      Q. So do you need her to read the question


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         1   back?                                                 1   has that been declared by Medical & Chiropractic
         2      A. I'm sure I do.                                  2   or by you and your wife as income on your 2016 tax
         3               (Whereupon, record was read as            3   returns?
         4                requested.)                              4          MR. EPSTEIN: Objection, form of
         5      A. I'm not sure I know how to answer that          5   question.
         6   question.                                             6          Go ahead and answer.
         7      Q. Honestly?                                       7      A. I don't think so.
         8      A. Honestly.                                       8      Q. Have you consulted with an accounting
         9      Q. No. I mean, how about honestly.                 9   expert regarding that specific question of whether
        10      A. Well, that's what I'm -- I'm not sure          10   the funds spent by Wanca on this case for your
        11   how to answer that question. I -- I think I'm a      11   benefit should be deemed taxable income?
        12   little confused on --                                12          MR. EPSTEIN: Objection, form of
        13      Q. What confuses you?                             13   question.
        14      A. -- the cases, and I'm not really sure          14      A. Michelle is an accountant. She does
        15   about the question.                                  15   that portion. So I never thought to ask that
        16      Q. What confuses you?                             16   question of that nature.
        17      A. This is a separate lawsuit.                    17      Q. You're letting it ride on
        18      Q. Yes.                                           18   Ms. Zakzrewski's expertise.
        19      A. And you're saying that Mr. Wanca costs         19      A. She does --
        20   hundreds of thousands of dollars.                    20          MR. EPSTEIN: Objection, form if that's
        21      Q. Paid.                                          21   a question. Object to your comment or the
        22      A. Paid already.                                  22   question.
        23      Q. Mm-hmm.                                        23      A. She does all of our accounting.
        24      A. Well, then maybe I should have a               24      Q. Last thing, one of the first things you


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         1   conversation with him and ask him. Otherwise I        1   said to Mr. Blonien when he asked you about the
         2   don't have an answer for that question.               2   harm or injury that you and Medical & Chiropractic
         3      Q. Going back to some questions that               3   have suffered, you said, "We are the class
         4   Mr. Blonien had with you about communications you     4   representatives" in the Cin-Q case.
         5   had with Michael Addison, have you ever               5           And you didn't say Cin-Q case, but we
         6   communicated with Mr. Addison in any way, shape,      6   all now know that term. "We are the class
         7   or form related to this case that we're here about    7   representatives" in the Cin-Q case.
         8   today, M & C versus Oppenheim and Bock Law Firm?      8           Do you understand, sir, that, in fact,
         9      A. No.                                             9   Medical & Chiropractic was never, and to this day
        10      Q. Do you recall when you were sitting in         10   still has not been, appointed by the court to be a
        11   this room during the deposition of Mr. Oppenheim     11   class representative in the Cin-Q case?
        12   some months ago, weeks ago, that the issue arose     12           MR. EPSTEIN: Objection, form of
        13   and he testified regarding the fact that Anderson    13   question.
        14   Wanca's payment of attorneys' fees and litigation    14      A. I did not know that.
        15   expenses to Foley on behalf of M & C can be          15      Q. Sir, I appreciate your time.
        16   properly viewed as income to M & C which must be     16           MR. BLONIEN: We can go off the record.
        17   declared to the IRS and taxes must be paid on it?    17           THE VIDEOGRAPHER: Off the record. The
        18   Do you recall being in this room when that issue     18   time is 2:12.
        19   and testimony came up with Mr. Oppenheim?            19           THE REPORTER: Did you want to waive or
        20      A. I don't remember that.                         20   reserve signature?
        21      Q. To your knowledge, has the Anderson            21           MR. EPSTEIN: We will reserve signature.
        22   Wanca law firm's financial contribution to           22                 (Whereupon the deposition
        23   prosecute or finance this case for Medical &         23                  adjourned.)
        24   Chiropractic against Oppenheim and Bock Law Firm,    24



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                                                           Page 74                                                     Page 76
         1      STATE OF ILLINOIS )                                   1   STATE OF ILLINOIS )
                                                                                   ) SS:
         2               ) SS                                         2   COUNTY OF C O O K )
         3      COUNTY OF C O O K )                                   3
                                                                      4
         4                                                                             I, Layli Phillips, RPR, CRR,
         5                                                            5   CSR, in and for the County of Cook and State of
                                                                          Illinois, do hereby certify that DR. GREGORY
         6      I,______________________________________,             6   WILLIAMS on November 13, 2017, was by me first
         7      do hereby certify that I have read the foregoing          duly sworn to testify to the truth, the whole
                                                                      7   truth, and nothing but the truth, and that the
         8      transcript of my deposition consisting of pages           above deposition was recorded stenographically by
         9      ____ through ___, inclusive; and I find it is a       8   me and transcribed by me.
                                                                      9           I FURTHER CERTIFY that the foregoing
        10      true and correct transcript of my deposition so           transcript of said deposition is a true, correct,
        11      given as aforesaid.                                  10   and complete transcript of the testimony given by
                                                                          the said witness at the time and place specified.
        12                                                           11
        13                                                                       I FURTHER CERTIFY that I am not a
                                                                     12   relative or employee or attorney or employee of
        14      ________________________________________                  such attorney or counsel, or financially
        15                                                           13   interested directly or indirectly in this action.
                                                                     14          IN WITNESS WHEREOF, I have set my hand.
        16                                                           15
        17      Subscribed and sworn to                              16
                                                                          ________________________________
        18      before me this ____ day                              17   Layli Phillips
        19      of _____________, 2017.                                   Registered Professional Reporter
                                                                     18   Certified Realtime Reporter
        20                                                                Certified Shorthand Reporter
        21      ___________________________                          19   Certificate No. 084.003900
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        22      Notary Public                                        21
        23                                                           22
                                                                     23
        24                                                           24


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         1   IN RE THE CASE OF: MEDICAL & CHIROPRACTIC CLINIC,
         2   INC., vs. DAVID M. OPPENHEIM, et al.
         3   taken on: November 13, 2017
         4
         5   PAGE    LINE      REASON AND CHANGE
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        24   ___________________________________________




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